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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


SIGNIFY NORTH AMERICA                               )
CORPORATION and                                     )
SIGNIFY HOLDING B.V.,                               )      C. A. No. 1:19-CV-5516-DLC
                                                    )
                       Plaintiffs,                  )      JURY TRIAL DEMANDED
                                                    )
               v.                                   )
                                                    )
AXIS LIGHTING INC.,                                 )
                                                    )
                       Defendant.                   )
                                                    )

                               JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Signify

North America Corporation and Signify Holding B.V. and Defendant Axis Lighting Inc., through

their attorneys of record, jointly file this Joint Stipulation of Dismissal, dismissing all claims and

counterclaims in this action by agreement of the parties. All attorneys’ fees, costs, and expenses

shall be borne by the party incurring same.
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Dated: March 25, 2021

STIPULATED and AGREED to by:




 ______________________________                _______________________________

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 COUNSEL FOR PLAINTIFFS
 Signify North America Corporation and
 Signify Holding B.V.



                                         ORDER


 SO ORDERED.


 Dated:________________, 2021
                                           HON. DENISE COTE
                                           United States District Judge




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